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    1
                                      UNITED STATES DISTRICT COURT
    2
                                             DISTRICT OF NEVADA
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    5   YASIR MEHMOOD,                                        Case No. 2:18-cv-02429-RFB-CWH
    6                      Petitioner,                                          ORDER
                v.
    7
        U.S. ATTORNEY GENERAL, et al.,
    8
                          Respondents.
    9

   10          This pro se immigration habeas petition pursuant to 28 U.S.C. § 2241 comes before the

   11   Court for preliminary review pursuant to Rule 4 of the Rules Governing Section 2254 Cases in the

   12   United States District Courts.

   13          The proper jurisdiction and venue for a petition under Section 2241 is the district in which

   14   the petitioner is in custody. See Braden v. 30th Judicial Circuit Court, 410 U.S. 484, 495-99

   15   (1973); see also Villalobos-Arellano v. Ashcroft, 123 Fed. App’x 790, 792 n.1 (9th Cir. 2005);

   16   Montoya-Cruz v. Feeley, 2018 WL 6710252, at *3 (N.D.N.Y. Dec. 20, 2018). Cf. Quintanilla v.

   17   Fla., 2013 WL 4549084, at *1 (N.D. Fla. Aug. 28, 2013). Petitioner is being held at the Krome

   18   Service Processing Center in Miami, Florida, and was being held there at the time he filed his

   19   petition. The proper venue for his petition is therefore the Southern District of Florida.

   20   Accordingly, in the interest of justice, and pursuant to 28 U.S.C. § 1406(a), this Court will order

   21   this action transferred to the United States District Court for the Southern District of Florida.

   22          IT IS THEREFORE ORDERED that this action is transferred to the United States District

   23   Court for the Southern District of Florida. The Clerk of the Court is directed to transfer this action

   24   to that court forthwith.

   25          DATED this 3rd day of January, 2019.
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   27                                                           RICHARD F. BOULWARE, II
                                                                UNITED STATES DISTRICT JUDGE
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